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       In the United States Court of Federal Claims
                                        No. 09-158
                                   Filed: January 8, 2010

*************************************
                                    *              Rails-To-Trails Case;
                                    *              National Trails System Act,
                                    *                16 U.S.C. §§ 1241-51 et seq. (2006);
                                    *              National Trails System Act Amendments
                                    *                of 1983, Pub. L. No. 98-11, § 208,
MARK R. RASMUSON and                *                97 Stat. 42, 48;
BRENDAN S. RASMUSON, et al.,        *              Railroad Revitalization and Regulatory
                                    *                Reform Act of 1976;
      Plaintiffs,                   *              U.S. Const. Amend V,
                                    *                Just Compensation Clause;
v.                                  *              28 U.S.C. § 1491(a)(1) (2006);
                                    *              45 U.S.C. § 801 (2006);
      THE UNITED STATES             *              49 U.S.C. § 702 (2006);
                                    *              49 U.S.C. § 10502 (2006);
      Defendant.                    *              49 U.S.C. § 10903 (2006);
                                    *              49 C.F.R. § 1152.29(a), (d)(1);
                                    *              49 C.F.R. § 1121.4(b);
                                    *              RCFC 20, Permissive Joinder;
                                    *              RCFC 23, Class Certification;
                                    *              RCFC 40.2(b), Indirectly Related Cases.
*************************************

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MEMORANDUM OPINION AND ORDER REGARDING CLASS CERTIFICATION

        This Memorandum Opinion and Order concerns Plaintiffs’ request for certification of
a class action, pursuant to RCFC 23. For the reasons discussed herein, the court declines to
certify a class action at this time, because the court is not satisfied that the numerosity
requirement of RCFC 23 has been met. The court, however, reserves the right to consider this
issue after further discovery.
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I.     THE NATIONAL TRAILS SYSTEM ACT AND AMENDMENTS AND
       PROCEDURE TO ABANDON A RAILROAD RIGHT-OF-WAY.

        The Surface Transportation Board (“STB”), the successor agency to the Interstate
Commerce Commission, 1 has authority “to regulate the construction, operation, and
abandonment of most railroad lines in the United States.” Caldwell v. United States, 391 F.3d
1226, 1228 (Fed. Cir. 2004). When a railroad seeks to abandon a railroad right-of-way within
the STB’s jurisdiction, the company “must either: (1) file a standard abandonment application
that meets the requirements of 49 U.S.C. § 10903; or (2) seek an exemption, under 49 U.S.C.
§ 10502.” Id. If the STB approves a standard abandonment application or grants an
exemption . . . the railroad ceases operation, [and] the STB relinquishes jurisdiction over the
abandoned railroad right-of-way and state law reversionary property interests, if any, take
effect.” Id. at 1228-29 (citing Preseault v. Interstate Commerce Commission, 494 U.S. 1, 7-8
(1990)).

        In 1983, Congress amended the National Trails System Act, Pub. L. 90-543, Oct. 2,
1968, 82 Stat. 919 (codified at 16 U.S.C. §§ 1241-51 et. seq.), to provide for an alternative
process by which a railroad right-of-way could be abandoned. Section 208 of the National
Trails System Act Amendments of 1983, Pub. L. No. 98-11, § 208, 97 Stat. 42, 48 (codified at
16 U.S.C. § 1247(d)) (“Trails Act”).

       In Caldwell, the United States Court of Appeals for the Federal Circuit described this
process as follows:

       Section 8(d) of the Trails Act allows a railroad to negotiate with a state,
       municipality, or private group (the “trail operator”) to assume financial and
       managerial responsibility for operating the railroad right-of-way as a
       recreational trail. 2 If the railroad and the trail operator indicate a willingness to


       1
           As of January 1, 1996. 49 U.S.C. § 702 (2006).
       2
           Section 8(d), codified at 16 U.S.C. § 1247(d), provides:
          (d) Interim use of railroad rights-of-way
       The Secretary of Transportation, the Chairman of the Surface Transportation
       Board, and the Secretary of the Interior, in administering the Railroad
       Revitalization and Regulatory Reform Act of 1976 [45 U.S.C. § 801 et seq.],
       shall encourage State and local agencies and private interests to establish
       appropriate trails using the provisions of such programs. Consistent with the
       purposes of that Act, and in furtherance of the national policy to preserve
       established railroad rights-of-way for future reactivation of rail service, to
       protect rail transportation corridors, and to encourage energy efficient
       transportation use, in the case of interim use of any established railroad rights-
       of-way pursuant to donation, transfer, lease, sale, or otherwise in a manner
       consistent with this chapter, if such interim use is subject to restoration or
       reconstruction for railroad purposes, such interim use shall not be treated, for
       purposes of any law or rule of law, as an abandonment of the use of such

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       negotiate a trail use agreement, the STB stays the abandonment process and
       issues a notice allowing the railroad right-of-way to be “railbanked.” The
       effect of the notice, if the railroad and prospective trail operator reach an
       agreement, is that the STB retains jurisdiction for possible future railroad use
       and the abandonment of the corridor is blocked “even though the conditions
       for abandonment are otherwise met.” [Nat'l Ass'n of Reversionary Prop.
       Owners (“NARPO”)] v. STB, 158 F.3d 135, 139 (D.C.Cir.1998); see also
       Preseault 494 U.S. at 8.] Specifically, section 8(d) provides that “such interim
       use [for trails] shall not be treated, for purposes of any law or rule of law, as an
       abandonment of the use of such rights-of-way for railroad purposes.” 16
       U.S.C. § 1247(d). Thus, section 8(d) of the Trails Act prevents the operation
       of state laws that would otherwise come into effect upon abandonment-
       property, laws that would “result in extinguishment of easements for railroad
       purposes and reversion of rights of way to abutting landowners.” Rail
       Abandonments-Use of Rights-of-Way as Trails, Ex Parte No. 274 (Sub-No.
       13), 2 I.C.C.2d 591, 1986 WL 68617 (1986).

391 F.3d at 1229-30 (internal and parallel citations omitted).

        This alternative abandonment process, known as “railbanking,” begins “when a rail
carrier files an abandonment application [with the STB] or, as in this case, a request for an
exemption.” Caldwell, 391 F.3d at 1228 (citing NARPO, 158 F.3d at 139). If the STB
approves a railroad’s request for an exemption, a notice of exemption will be published in the
Federal Register notifying the public of the railroad’s intent to abandon the railroad right-of-
way. Id. (citing 49 C.F.R. § 1121.4(b)). A potential trail operator may then file a petition,
pursuant to 49 C.F.R. § 1152.29(a), that it is interested in acquiring or using the right-of-way.
49 C.F.R. § 1152.29(a) 3 If the petition meets certain criteria, and the railroad agrees to
negotiate with the potential trail operator, the STB will issue a Notice of Interim Trail Use or
Abandonment (“NITU”). 49 C.F.R. § 1152.29(d). The NITU “permits the railroad to

       rights-of-way for railroad purposes. If a State, political subdivision, or
       qualified private organization is prepared to assume full responsibility for
       management of such rights-of-way and for any legal liability arising out of
       such transfer or use, and for the payment of any and all taxes that may be
       levied or assessed against such rights-of-way, then the Board shall impose such
       terms and conditions as a requirement of any transfer or conveyance for
       interim use in a manner consistent with this chapter, and shall not permit
       abandonment or discontinuance inconsistent or disruptive of such use.
       3
           49 C.F.R. § 1152.29(a) provides in relevant part:

       If any state, political subdivision, or qualified private organization is interested
       in acquiring or using a right-of-way of a rail line proposed to be abandoned for
       interim trail use and rail banking pursuant to 16 U.S.C. 1247(d), it must file a
       comment or otherwise include a request in its filing (in a regulated
       abandonment proceeding) or a petition (in an exemption proceeding) indicating
       that it would like to do so.

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discontinue service, cancel tariffs, and salvage track and other equipment, ‘consistent with
interim trail use and rail banking’ without consummating an abandonment and the NITU
extends indefinitely to permit interim trail use once an ‘agreement’ is reached between the
railroad and the trail operator.” Caldwell, 391 F.3d at 1230 (citing 49 C.F.R. § 1152.29(d)(1)).

        If the potential trail operator and the railroad reach an agreement “the NITU extends
indefinitely for the duration of recreational trail use[,] subject to the trail operator's fulfillment
of its agreed-upon obligations.” Id. The STB, however, “retains jurisdiction for possible
future railroad use, and state law reversionary interests that would normally vest upon
abandonment are blocked.” Id.

II.     RELEVANT FACTS. 4

          In 1886, the Mason City & Ft. Dodge Railroad established a 15.14-mile right-of-way
between milepost 2.0 near Flint, Iowa and milepost 17.14 near Thornton, Iowa (Cerro Gordo
County), known as the “Thornton Industrial Lead.” Pl. Mem. at 2; Pl. Ex. A. This right-of-
way was achieved by the railroad obtaining easements from fee owners adjacent to property
now owned by Plaintiffs and putative class members. Id. Subsequently, the Union Pacific
Railroad Company (“UP”) assumed ownership of these easements. Id. Plaintiffs claim these
easements cross “more than 120 parcels of land with more than 50 fee owners as successors in
title to the original fee owners.” Pl. Mem. at 2.

        On February 11, 2005, UP filed a Petition with the STB, pursuant to 49 U.S.C. §
10502, for an exemption to abandon the Thornton Industrial Lead. Pl. Ex. A. Notice of UP’s
Petition was published in the Federal Register on March 3, 2005. 70 FED. REG. 10,477
(March 3, 2005). Thereafter, the Iowa Trails Council 5 filed a Petition for issuance of an
NITU. Id. On June 1, 2005, the STB issued an NITU for the Thornton Industrial Lead,
(“Thornton NITU”). Id.; see also Pac. R.R. Co.--Abandoment Exemption--In Cerro Gordo
County IA, STB Docket No. AB-33 (Sub-No. 225X), 2005 WL 1304511 (S.T.B.) (decided
May 31, 2005). On or before October 5, 2006, UP and the Iowa Trails Council entered into a
Trail Use Agreement (“TUA”), regarding the Thornton NITU. Pl. Mem. at 3, Ex. C. Under
the TUA, UP’s interest in the Thornton Industrial Lead was transferred to the Iowa Trails
Council. Pl. Mem. at 3, Pl. Ex. C.




        4
         The relevant facts were derived from the parties’ filings that are either undisputed or
adequately substantiated for purposes of ruling on a RCFC 23 Motion for Class Certification.
Factual disputes between the parties are explicitly noted herein.
        5
         The Iowa Trails Council “is a non-profit organization which is directed and operated
by a diverse group of volunteers, all dedicated to preserving natural resources and providing
linear open spaces for public use.” http://www.ncrail-trails.org/ITC/itcboard.htm (last visited
January 8, 2010).

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III.   PROCEDURAL HISTORY IN THE UNITED STATES COURT OF FEDERAL
       CLAIMS.

       On March 12, 2009, a Complaint was filed in the United State Court of Federal
Claims, pursuant to 28 U.S.C. § 1491(a)(1) (“Tucker Act”), alleging that Plaintiffs and all
putative class members own reversionary property rights to real estate that underlie or abut
the Thornton Industrial Lead, and by operation of the National Trails Act, 16 U.S.C. §
1247(d), the Government took these property rights without Just Compensation, as required
by the Fifth Amendment of the United States Constitution. Compl. ¶¶ 8-9.

        On April 16, 2009, Plaintiffs filed a First Amended Complaint to add 15 named
Plaintiffs (“First Am. Compl.”). On May 5, 2009, the Government filed an Unopposed
Motion For Extension of Time To Answer that was granted by the Honorable Marian Blank
Horn. On May 7, 2009, Plaintiffs filed a Second Amended Complaint (“Sec. Am. Compl.”),
together with Exhibits to document Plaintiffs’ ownership of property underlying or adjacent to
the Thornton Industrial Lead.

        On May 14, 2009, Plaintiffs filed a Motion To Certify Class, pursuant to RCFC 23,
naming “themselves as representatives for that class of similarly situated individuals or
entities whose ‘reversionary’ rights to their property in Cerro Gordo, Iowa, abutting or
underlying the abandoned railroad easement [the Thornton Industrial Lead] was precluded by
operation of the Trails Act and the STB’s issuance of the [Thornton] NITU.” Pl. Mem. at 4.

       On May 21, 2009, this case was transferred from the Honorable Marian Blank Horn to
the undersigned judge.

                                           * * *

       On May 31, 2009, the Government filed a Motion For Extension Of Time To File A
Response to Plaintiffs’ May 14, 2009 Motion To Certify Class, that the court granted on June
1, 2009. On June 8, 2009, the Government filed an Answer to Plaintiffs’ Second Amended
Complaint. On June 12, 2009, the parties filed a Joint Motion To Stay Briefing On The
Motion For Class Certification, until a Scheduling Order was finalized. On June 15, 2009, the
court granted that stay. On August 20, 2009 the court entered a Scheduling Order lifting the
stay.

       On August 28, 2009, the Government filed a Response To Plaintiffs’ May 7, 2009
Motion To Certify Class. (“Gov’t Resp.”). On August 31, 2009, Plaintiffs filed a Reply (“Pl.
Reply”). On September, 28, 2009, at the request of the court the parties filed a Joint Status
Report to apprise the court of other Iowa “rails-to-trails” cases pending in the United States
Court of Federal Claims as indirectly related cases under RCFC 40.2(b).

        On December 4, 2009, with leave of the court, the Government filed a Surreply To
Plaintiffs’ Motion To Certify Class (“Gov’t Surreply”). On December 8, 2009, Plaintiffs filed
a Reply (Pl. Reply to Sur.”).



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IV.    DISCUSSION.

       A.      Jurisdiction.

        The Tucker Act provides that the United States Court of Federal Claims has
jurisdiction over “any claim against the United States founded either upon the Constitution, or
any Act of Congress or any regulation of an executive department, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.” 28 U.S.C. § 1491(a)(1). The Tucker Act, however, does not, by itself,
confer jurisdiction on the court. United States v. Testan, 424 U.S. 392, 398 (1976) (“The
Tucker Act, of course, is itself only a jurisdictional statute; it does not create any substantive
right enforceable against the United States for money damages. The Court of Claims has
recognized that the Act merely confers jurisdiction upon it whenever the substantive right
exists.”). Therefore, a plaintiff must identify an independent basis by way of a contract,
federal statute, regulation, or the Constitution upon which it is entitled to monetary payment
from the federal government. United States v. Mitchell, 463 U.S. 206, 216-17 (1983) (“The
claim must be one for money damages against the United States and the claimant must
demonstrate that the source of substantive law he relies upon can fairly be interpreted as
mandating compensation by the Federal Government for the damages sustained.”) (internal
citations omitted); Fisher v. United States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (“[I]n order
to come within the jurisdictional reach and the waiver of the Tucker Act, a plaintiff must
identify a separate source of substantive law that creates the right to money damages. In the
parlance of Tucker Act cases, that source must be money-mandating.”) (internal citations and
quotations omitted).

        In determining whether the United States Court of Federal Claims has jurisdiction
over a claim, the trial court has been instructed that “at the outset [the court] shall
determine . . . whether the Constitutional provision, statute, or regulation is one that is money-
mandating. If the court’s conclusion is that the Constitutional provision, statute, or regulation
meets the money-mandating test, the court shall declare it has jurisdiction over the cause, and
shall then proceed with the case in the normal course.” Fisher, 402 F.3d at 1173.

        The court has jurisdiction to adjudicate the claims in the May 7, 2009 Second
Amended Complaint that identify and plead an independent right to money damages under the
Fifth Amendment. Sec. Am. Compl. ¶ 2; see also Acceptance Ins. Companies Inc. v. United
States, 503 F.3d 1328, 1336 (Fed. Cir. 2007) (“A Fifth Amendment takings claims falls
within the Tucker Act's grant of jurisdiction[,] because it is a claim against the United States
founded upon the Constitution.”); see also Caldwell, 391 F.3d at 1233-34 (“The issuance of
the NITU is the only government action in the railbanking process that operates to prevent
abandonment of the corridor and to preclude the vesting of state law reversionary interests in
the right-of-way.”) (emphasis in original). Therefore, takings claims, if any, accrue upon the
issuance of the NITU. Id. at 1234 (“We therefore hold that the appropriate triggering event
for any takings claim under the Trails Act occurs when the NITU is issued.”). The trail
operator and the railroad must to come to any agreement within 180 days of the NITU’s
issuance. 49 C.F.R. § 1152.29(d)(1) (stating that the NITU will “permit the railroad to fully
abandon the line if no agreement is reached 180 days after it is issued[.]”).


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       B.      Standard Of Review On A Motion For Class Certification.

       Class actions in United States Court of Federal Claims are governed by RCFC 23 that
provides:

       (a) Prerequisites. One or more members of a class may sue as representative
       parties on behalf of all only if:

               (1) the class is so numerous that joinder of all members is
       impracticable; (2) there are questions of law or fact common to the class; (3)
       the claims or defenses of the representative parties are typical of the claims or
       defenses of the class; and (4) the representative parties will fairly and
       adequately protect the interests of the class.

       (b) Class Actions Maintainable. A class action may be maintained if RCFC
       23(a) is satisfied and if . . . (2) the United States has acted or refused to act on
       grounds generally applicable to the class; and (3) the court finds that the
       questions of law or fact common to class members predominate over any
       questions affecting only individual members, and that a class action is superior
       to other available methods for fairly and efficiently adjudicating the
       controversy. The matters pertinent to these findings include: (A) the class
       members' interests in individually controlling the prosecution of separate
       actions; (B) the extent and nature of any litigation concerning the controversy
       already begun by class members; ... and (D) the likely difficulties in managing
       a class action.

RCFC 23(a), (b).

       RCFC 23 is modeled after Federal Rule of Civil Procedure (“FRCP”) 23. RCFC 23,
United States Court of Federal Claims Rules Committee (“Rules Committee”) Notes (2002
Revision). 6 In King v. United States, 84 Fed. Cl. 120 (2008), the United States Court of
Federal Claims held that: RCFC 23 is different from FRCP 23 in two important respects: “(1)
[RCFC 23] has been modified to reflect the court's jurisdiction, in particular, the narrow
circumstances in which the court will afford declaratory or injunctive relief, and (2) it allows
only ‘opt-in,’ but not ‘opt-out,’ class actions.” Id. at 123. 7

       6
          Accordingly, the United States Court of Federal Claims has relied on other federal
court decisions to construe RCFC 23. Haggart v. United States, 2009 WL 3152383 at 3
(Fed.Cl.2009) (“Cases applying [FRCP 23] have been examined and followed in interpreting
RCFC 23.”); see also Barnes v. United States, 68 Fed. Cl. 492, 494, n.1 (2005) (“Owing to
the fact that the language of RCFC 23 and Federal Rule 23 is, in many regards, identical, this
opinion relies upon numerous decisions that have construed the relevant portions of the latter
rule.”).
       7
        According to the United States Court of Federal Claims in Buchan v. United States,
27 Fed. Cl. 222, 223 (1992), opt-in class action “allows each of the unnamed members of the

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       Accordingly, “unidentified claimants are not bound if the case should be ruled in the
defendant's favor.” 8 Id.

        The Rules Committee also has observed that “[i]n the main, [RCFC 23] adopts the
criteria for certifying and maintaining a class action as set forth in Quinault Allottee
Ass’n v. United States, 453 F. 2d 1272 (1972).” RCFC 23 Rules Committee Notes (2002).
Therefore, to certify as a class under Quinault, Plaintiffs, in this case, must: (1) constitute a
large, but manageable class; (2) there is a question of law common to the whole class; (3) this
common legal issue must predominate over any separate factual issues affecting the
individual members; (4) the claims of the named plaintiffs are typical of the claims of the
class; (5) the Government acted on grounds generally applicable to the whole class; (6) the
claims of many putative class members are so small that it is doubtful that they would
otherwise be pursued; (7) the current plaintiffs will fairly and adequately protect the interests
of the class, without conflict of interest; and (8) the prosecution of individual actions by
members of the class, some in district courts and some in this court, would create a risk of
inconsistent or varying adjudications. 9 Id. at 1276.

        The criteria set forth in RCFC 23(a) and (b) “can be grouped into five categories: (i)
numerosity-a class so large that joinder is impracticable; (ii) commonality-in terms of the
presence of common questions of law or fact, the predominance of those questions, and the
treatment received by the class members at the hands of the United States; (iii) typicality-that
the named parties' claims are [typical] of the class; (iv) adequacy-relating to fair
representation; and (v) superiority-that a class action is the fairest and most efficient way to
resolve a given set of controversies.” Barnes, 68 Fed. Cl. at 494 (bolded in original) (citing
General Telephone Co. of Southwest v. Falcon, 457 U. S. 147, 161 (1982) (regarding Fed R.
Civ. P. 23(a), (b)). Since these requirements are in the conjunctive, failure to satisfy any one
“is fatal to a motion for class certification.” Testwuide v. United States, 56 Fed. Cl. 755, 761
(2003).

        For this reason, the party moving for class certification bears the burden of
establishing, by a preponderance of the evidence, the requirements set forth in RCFC 23.
Filosa v. United States, 70 Fed. Cl. 609, 615 (2006) (“The party moving for class certification
bears the burden of satisfying the requirements set forth in RCFC 23 by a preponderance of
the evidence.”); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78 (1974) (in
determining whether the requirements of class certification are met, the trial court must not

class the opportunity to appear and include themselves in the suit if each is willing to assume
the risks of the suit. This approach resembles permissive joinder in that it requires affirmative
action on the part of every potential plaintiff.” Id. at 223.
       8
        In contrast, in an opt-out class, “members may choose to exclude themselves if they
do not want to be bound by the decision or settlements reach in the case.” BLACK’S LAW
DICTIONARY 284 (9th ed. 2009).
       9
          This eighth factor is no longer relevant in light of the creation of the United States
Court of Appeals for the Federal Circuit, that has jurisdiction to review all appeals from the
United States Court of Federal Claims, regarding cases alleging the right to money damages
against the United States. King, 84 Fed. Cl. at 123, n. 3.

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inquire: “whether the plaintiff or plaintiffs have stated a cause of action or will prevail on the
merits, but rather whether the requirements of the class action rule are met.”). Bare
allegations do not satisfy plaintiff’s burden under RCFC 23.

        Therefore, in this case, the court is required to conduct an analysis to determine if the
prerequisites of RCFC 23 have been satisfied by a preponderance of the evidence. Falcon,
457 U.S. at 161 (holding that class actions “may only be certified if the trial court is satisfied,
after a rigorous analysis, that the prerequisites of Rule 23(a) have been satisfied.”). This
analysis requires the court to “make the factual and legal inquiries necessary to ensure that
class certification is appropriate.” Christopher Village v. United States, 50 Fed. Cl. 635, 642
(2001).

       C.      Plaintiffs’ Motion To Certify A Class Action.

               1.      Plaintiffs’ Argument.

         Plaintiffs argue that the number of potential class members is a “major consideration,”
when assessing the practicality of joinder for numerosity. Pl. Mem. at 6 (quoting Fauvergue,
86 Fed. Cl. 82, 96 (2009) (appeal argued Dec. 11, 2009)). Plaintiff relies on King for the
proposition that a proposed class size that exceeds forty members is presumed to render
joinder impracticable. Id. In this case, a search of the relevant property records reveals that,
at least 120 parcels of land are adjacent to the Thornton Industrial Lead. Id. at 6-7. Because
some individuals or entities appear to own more than one parcel, however, Plaintiffs estimate
that, at least, 50 potential class members exist. Id. at 7. Accordingly, Plaintiffs assert the size
of the potential class exceeds 40 potential plaintiffs, rendering joinder impracticable. Id.

        Plaintiffs also contend that a finding of numerosity is warranted when, the size of the
individual claims are small in relation to the cost of litigation, so that class members likely
would hesitate to pursue their claims individually. Id. In this case, Plaintiffs insist that,
without a class action, some individual claims may not be pursued at all, because their claims
involve small amounts of money, or some potential class members own parcels that are
relatively small, while others own larger tracts that are rural in character and consequently of
lower value. Id. Therefore, a class action is the only procedural vehicle by which all class
members can have their respective claims adjudicated. Id.

               2.      The Government’s Response.

        The Government responds that Plaintiffs’ Motion To Certify fails to satisfy the
numerosity requirement. Gov’t Resp. at 1. First, Plaintiffs failed to meet their evidentiary
burden as to size and composition of the class. Id. Second, Plaintiffs failed to establish that
joinder of potential plaintiffs is impracticable. Id.

       The Government does not dispute that the number of potential class members may
exceed 50 members, but Plaintiffs have provided “no competent evidence” that a search of all
relevant property records occurred. Id. Importantly, the list of potential class members
provided appears overbroad, as it identifies parties who allegedly own land adjacent to the


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Thornton Industrial Lead, without regard for the nature of the parties’ interest in the property.
Id. at 7. Under Iowa law, simply owning property adjacent to a railroad right-of-way is not
sufficient to establish the requisite reversionary interest necessary to sustain a takings claim:
“To establish a compensable interest in a railroad line under Iowa law, Plaintiffs must prove
either: (1) that each held some enforceable reversionary or executory interest in the railroad
line; or (2) that each holds title to land adjacent to an abandoned portion of a railroad line that
the operator used under a mere easement.” Id. (citing Jacobs v. Miller, 111 N.W.2d 673, 675-
76 (Iowa 1961); see also Iowa Code § 327G.77 (2009)).

        Second, Plaintiffs have failed to supply “evidence establishing or even suggesting”
that the claims of some potential class members are too small to make individual litigation
worthwhile. Id. at 7. Some evidence is required. Id.

        Third, assuming arguendo that Plaintiffs can establish a potential class of
approximately 50 members, a class size in this range is not, without more, sufficient to satisfy
the numerosity requirement. Id. at 8. The United States Court of Federal Claims has
managed cases with more than 50 claimants through joinder. Jaynes v. United States, 69 Fed.
Cl. 450, 454-55(2006) (finding that an estimated 258 members did not satisfy numerosity);
see also O’Hanlon v. United States, 7 Cl. Ct. 204, 206 (1985) (holding 39 potential members
was not sufficient); Suanooke v. United States, 8 Cl. Ct. 327, 333 (1985) (holding 50 potential
members was not sufficient). In short, there is no presumption, as a matter of law, that
numerosity is satisfied when the putative number of class members exceeds 40. Gov’t Resp.
at 9. Nor have Plaintiffs cited any authority either in the United States Supreme Court or the
United States Court of Appeals for the Federal Circuit establishing such a presumption. Id.
For this reason, contrary to Plaintiffs’ assertion, there is no specific ‘magic number’ that once
achieved raises a presumption of numerosity. Id. (citing Fauvergue, 86 Fed. Cl. at 98).
Plaintiffs’ argument that numerosity is presumptively satisfied by identifying more then 40
potential class members has no support in law. Id.

        In addition, joinder is not impracticable in this case, because the potential plaintiffs are
in close geographic proximity to each other and easily identified. Id. at 9. In fact, according
to Plaintiffs’ initial disclosures, the majority of potential plaintiffs are located within Cerro
Gordo County, Iowa and can be ascertained through available deeds and other recorded
property instruments. Id. at 9-10. Accordingly, Plaintiffs’ Motion To Certify Class should be
denied, because joinder is practicable. Id. at 10-11.

               3.      Plaintiffs’ Reply.

        Plaintiffs reply that, in determining whether the prerequisite of numerosity has been
met, the court must assume the truth of the factual allegations contained in the Complaint. Pl.
Reply at 2 (citing East Texas Motor Freight Sys. Inc., v. Rodriguez, 431 U.S. 395, 405-06
(1977)). The allegations in the March 12, 2009 Complaint, conform with Plaintiffs proposed
class, defined as follows:

       All persons who own an interest in lands constituting part of the railroad
       corridor or right-of-way that is locally known as the Thornton Industrial Lead


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        and on which a rail line was formerly operated by the Union Pacific Railroad
        Company in Cerro Gordo, Iowa, and who claim a taking of their rights to
        possession, control, and enjoyment of such lands due to the operation of the
        railbanking provisions of the National Trails System Act (“NTSA”), 16 U.S.C.
        § 1247(d) by the issuance of a Notice of Interim Trail Use issued on June 1,
        2005, by the Surface Transportation Board. The segments of the subject right-
        of-way at issue are described as located between milepost 2.0 near Flint to
        milepost 17.14 near Thornton, in Cerro Gordo County, Iowa.

Id. at 2-3.

        Therefore, Plaintiffs insist the elements of numerosity have been satisfied. First, there
is no minimum number required to maintain a class action suit, joinder is “generally
presumed” impracticable when the proposed class size exceed 40 members. Id. at 3.
(emphasis in original) (citing King, 84 Fed. Cl. at 124 (“But, generally, if there are more than
forty potential class members, this prong has been met.”)). Second, Plaintiffs need not
specify an exact number of potential class members; instead Plaintiffs need only assert that
the putative class number is based on something more than mere speculation. Id. at 4. In this
case, Plaintiffs have identified over 50 potential class members through a search of the
records of the Cerro Gordo County Tax Assessor and Recorder of Deeds. Id. Plaintiffs
attached an August 27, 2009 Affidavit from Ms. Barbara Moreau, an employee of Cerro
Gordo Abstract Company, who was contracted by Plaintiffs to conduct this records search.
Id. at 4-5 (citing Pl. Reply at Ex. A). In Ms. Moreau’s affidavit, she stated that her research
identified at least 50 potential class members. Id. Therefore, Plaintiffs have provided an
adequate basis for identifying potential class members that exceeds the presumptive number
of class members necessary for certification as set forth in King.

        It is important for the court to recognize that, Plaintiffs’ have moved to certify a class
of adjacent landowners affected by the NITU, not just those adjacent landowners affected by
the NITU who also have a reversionary interest in the right-of-way at issue. Pl. Reply at 5.
The Government is correct that Plaintiffs have not yet established that all adjacent landowners
had a reversionary interest in the Thornton Industrial Lead. Id. at 5. Possession of a
reversionary interest, however, is not the issue before the court. Id. To determine who has a
reversionary interest at this juncture would be a de facto determination of the merits of the
case “under the guise of the numerosity prerequisite.” Id. Plaintiffs’ search of Cerro Gordo
County property records reveals that potential plaintiffs are not all located in same geographic
area. As indicated in Ms. Moreau’s Affidavit, potential plaintiffs are dispersed across five
different states. Id. at 6. Potential class members are located not only in cities throughout
Iowa, but also in Texas, Michigan, and Ohio. Id. Therefore, the fact that potential plaintiffs
geographically are dispersed favors a finding of numerosity. Id.

        The property at issue also is largely agricultural land of various sizes and easement
encumbrances, so that the cost of the litigation would greatly exceed the value of any
individual claim. Id. at 7. Because the smaller value of some of the potential claims, a class
action is the only procedure that makes the litigation cost-effective. Id. (citing Barnes, 68
Fed. Cl. at 499-500).


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        In sum, the nature of the suit makes class action superior to other methods of
adjudication, because a class action eliminates inconsistent outcomes and promotes judicial
economy. Id. at 7-8. Instead of multiple counsel and experts, a class action in this case will
allow for one counsel and a common group of experts. Id. at 8. Efficiency will be achieved
by a unified approach to property records and appraisal values. Id. In addition, class
certification inures to the Government’s benefit, because it allows the Government to present
one defense to Plaintiffs’ claims. Id. Pursuant to 28 U.S.C. § 2412, the Government is
required to pay attorneys fees and costs, if Plaintiffs are successful. Id. Therefore, the
Government’s potential expense may be significantly reduced in a class action where there is
only one counsel and one set of experts, rather than potentially being liable for attorney fees
and costs associated with 50 separate actions. Id.

        Finally, RCFC 23 should be liberally construed, because it is “simply a procedural
tool” that provides the most efficient means for potential class members to have their claims
adjudicated. Id. at 8-9. Because putative class members did not hire an attorney or file suit,
many likely do not know such a suit has been filed. Id. at 10. Because class certification
orders must be published, that will afford the best means of notice to potential claimants. Id.
at 10 (citing RCFC 23 (c)(1)(B)). RCFC 23 also imposes special burdens on the class counsel
and requires the court to take a greater role in the management of the case. Id. (citing RCFC
23(d)-(g)). For example, the court must appoint competent class counsel to ensure that class
members are given adequate notice of the suit and the potential consequences of opting into
the class or pursing litigation individually. Id. Furthermore, “[i]t is the ultimate judgment,
not the complaint, which finally identifies the class members[.]” Id. at 9 (citing RCFC
23(c)(2))(b)(v)).

         The Government’s attempt to abort this class action, because of numerosity, would
result in “dire consequences for citizens with claims against the Government,” and as such is
antithetical to the purpose of class actions in the United States Court of Federal Claims. Id. at
10. Instead, construing RCFC 23 liberally serves this purpose, by providing “a superior
mechanism for fairly resolving similar issues and claims with repetitious and wasteful
litigation.” Id. at 11. In this case, approximately 50 potential plaintiffs have claims that
would otherwise be too small to pursue individually. Id. Therefore, a class action is the only
method that effectively and efficiently to affords these potential plaintiffs the opportunity to
adjudicate their claims. Id.

               4.      The Government’s Surreply.

        The Government counters that Plaintiffs have misstated the standard for class
certification. Gov’t Surreply at 1. The court does not have to assume the truth of the factual
assertions contained in the Complaint, as required by RCFC 12(b). Id. Instead, under RCFC
23, Plaintiffs have the burden to establish, by a preponderance of the evidence, that a class
action meets all of the requirements of certification. Id. (quoting Fauvergue, 86 Fed. Cl. at
95-96). For this reason, RCFC 23 motions “require the court to look beyond the mere
allegations of the Complaint and test the sufficiency of the assertions in support of
certification.” Id. For this reason, East Texas Motor does not support Plaintiff’s position that


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the court must to certify any class actions, but instead only those cases that meet the
requirements of Fed. R. Civ. P. 23. Id. (citing East Texas Motor 431 U.S. at 405-06 (holding
that a complaint’s bare assertions alone were insufficient for certification)). Although other
judges of the United States Court of Federal Claims may have certified class actions in
different “rail-to-trails” cases, 10 in this case, the court is required to pay attention to the
requirements of RCFC 23 on a case-by-case basis. Id. at 3. Accordingly, the Government’s
stipulation to class certification in other cases is of no substantive import here. Id.

         The Surreply provides that Plaintiffs have failed to provide competent evidence about
the value of each of the proposed members’ claims and no evidence supports Plaintiffs’
assertion that some members of the class would have claims too small to warrant individual
litigation. Id. at 3-4. Moreover, all but four of the potential class members are located outside
of Iowa, so determining their identity and contact information militates against a finding of
numerosity. Id. at 8

        Moreover, Plaintiffs’ method for identifying 50 or more potential class members is
flawed, because all individuals who own land adjacent to the Thornton Industrial Lead were
included, without regard to whether such individuals have an ownership interest in the
railroad right-of-way at issue in this case. Id. at 4. As a result, Plaintiffs’ proposed class is
too broad. Id. Instead, the appropriate reviewing forum should consider only the number of
owners in the railroad right-of-way to determine numerosity, not only adjacent landowners.
Id. at 4-5. All of the evidence cited by Plaintiffs’ to establish the size of the proposed class
concerns only the total number of adjacent landowners, although ownership of adjacent land
alone, without more, does not convey a property right to the right-of-way. Id. at 6. In other
words, the flawed methodology used to establish Plaintiffs’ proposed class is overbroad and
“too coarse to establish numerosity.” Id. at 5.

        Although Plaintiffs attempt to rectify their estimate by recasting the definition of the
class as consisting of adjacent landowners affected by the NITU, only those property owners
with an interest in the right-of-way would be affected by the NITU. Id. Plaintiffs, however,
do not explain how an adjacent landowner who has no reversionary interest in the right-of-
way could be affected by the NITU. Id. Therefore, the size of the proposed class “cannot be
surmised merely by counting the number of all landowners adjacent to the corridor.” Id. at 7.

        Moreover, there is no merit to the assertion that the court should defer ruling on the
number of individuals with an ownership interest in the right-of-way until some later date. Id.
The prerequisites of RCFC 23 require the court to make findings, even if they overlap with
issues on the merits. Id. (citing Gariety v. Grant Thornton, LLP., 368 F.3d 356, 365 (4th Cir.
2004) (“[T]he factors spelled out in Rule 23 must be addressed through findings, even if they
overlap with issues on the merits.”)); Szabo v. Bridgeport Machs., Inc., 249 F.3d 672, 675 (7th

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           Burgess v. United States, No. 09-242L (Fed. Cl.) (Sept. 19, 2009) (defining the
class as “all persons owing an interest in lands constituting part of” the relevant railroad right-
of-way); see also Jenkins v. United States, No. 09-241L (Fed. Cl.) (Nov. 13, 2009) (defining
the class as all persons who “owned an interest in property abutting or underlying the railroad
corridor or right-of-way.”).

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Cir. 2001) (holding that nothing “in Eisen, [which proscribes an inquiry into the merits of a
suit to determine if class certification is appropriate] prevents the district court from looking
beneath the surface of a complaint to conduct the inquiries identified in [FRCP 23] and
exercise the discretion it confers.”)). In sum, the Government is not depriving citizens of a
forum for vindicating their rights. Id. Plaintiffs Motion To Certify should be denied because
the proposed class is not so numerous that joinder is impracticable. Id.

               5.      Plaintiff’s Reply To The Government’s Surreply.

        Plaintiffs reply that “[s]imply put if there are 40 potential class members, then the
numerosity requirement is presumed.” Pl. Reply to Sur. at 1 (citing King and Barnes).
Plaintiffs do not refute the Government’s contention that a motion to certify a class action
requires the court to look beyond the allegations of the complaint and test the sufficiency of
the assertions in support of certification, but Plaintiffs have satisfied that burden by supplying
the August 27, 2009 Moreau Affidavit that identifies the members of the proposed class. Id.
at 2. As a matter of law, Plaintiffs are not required to allege the exact number or identity of
the class members, but only supply a basis for asserting the number of putative class
members. Id. (citing King, 84 Fed. Cl. at 124).

        The Government’s argument about the value of potential class members’ claims is
irrelevant, because Barnes held that it is appropriate to consider reduced land values when
making a decision to certify a class action. Id. at 3 (citing 68 Fed. Cl. at 492). The fact that
potential class members are dispersed across five states does not undermine a finding of
numerosity. Id. at 6.

        In addition, the Government has stipulated in other rails-to-trails cases pending before
the United States Court of Federal Claims that the class includes all persons who own an
interest in land adjacent to the railroad right-of-way, at the time the NITU was issued and
allege a taking of their property. Id. at 4. The Government’s attempt to require the court to
find a reversionary interest at this stage of the litigation is an improper determination on the
merits. Id. At the appropriate time, Plaintiffs will supply evidence that the entire Thornton
Industrial Lead was obtained through condemnation or right-of-way deed and that both are
easements under Iowa law. Id. at 6. A motion to certify class action under RCFC 23 does not
require Plaintiff to establish liability. Id. at 5-6.

        Finally, the Government does not contest that RCFC 23 is to be liberally construed or
that a class action is simply a procedural tool for allowing the court to efficiently resolve the
claims of many individuals. Id. at 6-7. Accordingly, a denial of Plaintiffs’ Motion To Certify
Class would, in effect, deprive citizens of a forum to vindicate their rights. Id. at 7.

       D.      Court’s Resolution As To Numerosity.

      Even under a liberal construction, Plaintiffs have the burden to establish, by a
preponderance of the evidence, that the parties are so numerous that joinder is impracticable.
RCFC 23(a)(1) (emphasis added). While “‘impracticable,’ does not mean ‘impossible’”,
Haggart, 89 Fed. Cl. at 530, the standard remains high. “Impracticable” means “impossible in


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practice to do or carry out.” THE NEW OXFORD AMERICAN DICTIONARY 849 (2d ed. 2005)
(emphasis added); see also MERRIAM-WEBSTER’S COLLEGIATE DICTIONARY 625 (11th ed.
2003) (“[I]ncapable of being performed or accomplished by the means employed or at
command”). 11 Several factors determine numerosity including, but not limited to: “the
number of class members, the location of the members of the proposed class, the size of the
individual claims, and the nature of the action.” King, 84 Fed. Cl. at 123-24 (citing 7A
Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane, FEDERAL PRACTICE & PROCEDURE
(WRIGHT, MILLER, & KANE) § 1762 at 177, 206-07 (3d ed. 2005)

        As a matter of law, the number of putative class members is a substantial factor in
establishing numerosity. King, 84 Fed. Cl. at 124 (“[T]he number of potential class members
is persuasive when determining numerosity”). In this case, Plaintiffs place great emphasis on
the dicta in King that “generally, if there are more than forty potential class members, this
prong has been met.” Id. (citing Stewart v. Abraham, 275 F.3d 220, 226-27 (3d Cir.2001)).
Plaintiffs argue that King requires a presumption of numerosity whenever a Plaintiff can
evidence a potential class of over forty members. Pl. Mem. at 6. Plaintiffs, however, afford
no weight to the prior statement in King: “While not outcome determinative[.]” 84 Fed. Cl. at
124. Moreover, the treatise on which King relied, states that “[t]here are no rigid numerical
tests for measuring impracticability of joinder.” 5 James Wm. Moore, MOORE'S FEDERAL
PRACTICE § 23.22[1][b] (3d ed. 2004) (emphasis added). Therefore, the King dicta is only a
“general guideline” of the numeric ranges that have satisfied some courts as to the numerosity
requirement. Id. The United States Court of Federal Claims, however, has not uniformly
adopted a presumption approach to numerosity. Jaynes v. United States, 69 Fed. Cl. 450, 454
(2006) (“The [c]ourt declines to formally adopt a “presumption” approach to numerosity.”).
There is no “magic number” that once attained, triggers a presumption of numerosity.
Fauvergue, 86 Fed. Cl. at 96 (“The court has not created a ‘magic number’ number that, once
overcome, raises a presumption that numerosity is satisfied.”). Moreover, such an approach
would be contrary to the United States Supreme Court’s holding in General Tel. Co. of the
Northwest, Inc. v. Equal Employment Opportunity Commission, 446 U.S. 318 (1980), that
“[t]he numerosity requirement requires examination of the specific facts of each case and
imposes no absolute limitations.” Id. at 330; see also MOORE'S FEDERAL PRACTICE §
23.22[1][b] (“To the extent that any ‘presumption’ effectively alters the burden of proof on
the numerosity requirement, the ‘presumption’ approach seems questionable and overly rigid
compared to the generally accepted approach that numerical guidelines exist but are not
controlling.”).

        All of the 51 potential class members in this case appear to satisfy the requirements of
joinder under RCFC 20. 12 For this reason, the court to date has allowed Plaintiffs to add 15


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         Unless a term is defined by statute, it should be given its ordinary, contemporary,
common meaning which may be informed by dictionary definitions. McGee v. Peake, 511
F.3d 1352, 1356 (Fed. Cir. 2008).
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            RCFC 20 states:

       (a) Persons Who May Join or Be Joined.

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other plaintiffs to this action. First Am. Compl. ¶¶ 5-19. The record, however, does not
establish that joinder of the remaining potential plaintiffs in this case is impracticable. As the
Government observed, the United States Court of Federal Claims and its predecessor
frequently have managed cases with large numbers of claimants without the need to resort to
class action. Jaynes, 69 Fed. Cl. at 454-55 (holding that a potential class of 256 members did
not satisfy numerosity); see also Buchan, 27 Fed. Cl. at 224 (“This court, however, has never
had difficulty dealing with hundreds of party plaintiffs or with single plaintiff “test” cases.”);
O'Hanlon v. United States, 7 Cl. Ct. 204, 206-207 (1985 ) (holding joinder appropriate for 39
potential plaintiffs.)

        In addition, “the ease of identifying [class] members and ascertaining their addresses,
the facility of making service on them if joined, and their geographic dispersion” are all
factors in the numerosity determination. Jaynes, 69 Fed. Cl. at 454. The vast majority of
potential plaintiffs reside in close geographic proximity to each other and the land at issue in
this case. Pl. Reply to Sur. at 6 (“It is true that a small subset of landowners adjacent to the
railroad corridor have mailing addresses outside of the state of Iowa.”). This counsels against
a finding of a numerosity. Jaynes, 69 Fed. Cl. at 454 (holding that because 81 percent of the
potential plaintiffs lived in the same state, the geographic proximity factor must “weigh
heavily” in its numerosity analysis). In addition, the potential Plaintiffs who reside outside of
the state of Iowa appear to be readily available through a search of public records. Pl. Ex. A.
Therefore, to date there has been no evidence that service of process on potential plaintiffs
would be impracticable.

         The court recognizes that class certification serves the interests of judicial economy
and provides, in some cases, the most effective means for potential plaintiffs to adjudicate
their claims. These arguments, however, are more appropriately considered in evaluating the
superiority requirement of RCFC 23. Barnes, 68 Fed. Cl. at 499 (“Essentially, under [the
superiority] prong of the analysis, the court is obliged to conduct a cost/benefit analysis,
weighing any potential problems with the manageability or fairness of a class action against
the benefits to the system and the individual members likely to be derived from maintaining
such an action.”); see also Curry v. United States, 81 Fed. Cl. 328, 337 (2008) (adopting
Quinault’s [453 F.2d at 1276] determination that the “claims of many allottees are so small
that it is doubtful that they would be pursued other than through this case,” as part of the
superiority analysis); Fisher v. United States, 69 Fed. Cl. 193, 205 (2006) (considering the
relative size of potential individual claims under the superiority requirement).

        For this reason, the court has determined that any efficiencies Plaintiffs argue would
be gained by a class action, can be achieved through joinder. Although some potential
plaintiffs may elect to retain different counsel or proceed individually, as a matter of law, that
factor is not dispositive. Haggart, 89 Fed. Cl. at 530 (“This approach resembles permissive

               (1) Plaintiffs. Persons may join in one action as plaintiffs if:
                       (A) they assert any right to relief jointly, severally, or in the
                       alternative with respect to or arising out of the same transaction,
                       occurrence, or series of transactions or occurrences; and
                       (B) any question of law or fact common to all plaintiffs will
                       arise in the action.

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joinder in that it requires affirmative action on the part of every potential plaintiff.”) (quoting
Buchan, 27 Fed. Cl. at 223). In addition, any other takings claims arising out of Thornton
NITU would be assigned as a directly related case under RCFC 40.2, avoiding any conflicting
opinion at the trial.

       Accordingly, the court has determined, considering all the relevant factors to the
numerosity analysis, that Plaintiffs at this early juncture in the case, have failed to prove by a
preponderance of the evidence, that joinder is impracticable. As such, adjudication of the
remaining elements of RCFC 23 is unnecessary. Testwuide, 56 Fed. Cl. at 761 (2003).

V.     CONCLUSION.

       For these reasons, the court has determined that Plaintiffs have failed to establish, by a
preponderance of the evidence, that the potential class is so numerous that joinder of all
members is impracticable. Accordingly, Plaintiffs’ May 14, 2009 Motion To Certify Class
Action is denied.

       IT IS SO ORDERED.

                                                      s/ Susan G. Braden
                                                      SUSAN G. BRADEN
                                                      Judge




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